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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

SUSAN TAIT

v.                                             CASE NO. 3:15cv441-MCR-EMT

GRANNY NANNIES OF NORTH
AMERICA, LLC and
MYHYLANDERS ELDERCARE, LLC
                                           /

                                  ORDER

        The Court hereby amends the Initial Scheduling Order in this case for

the purpose of conforming Paragraphs (9) and (10) to the Court’s Local Rules,

which were amended effective November 24, 2015.              Accordingly, the

following language is substituted for Paragraphs (9) and (10) of the Initial

Scheduling Order:

              (9)     Attorney's Fees Records. In any proceeding in which a

        party is seeking an award of attorney’s fees against an opposing party

        pursuant to a statute, contract, or other law, the party seeking such an

        award must:

                      (a)   Maintain a complete, separate, and accurate record
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       of time (to the nearest 1/10 of an hour) devoted to the particular action,

       recorded contemporaneously with the time expended, for each attorney

       and each specific activity (i.e. not just “research” or “conference”)

       involved in the action; however, attorney time records shall NOT be

       filed with the Clerk until necessary for the determination of a fee

       motion, see N.D. Fla. Loc. R. 54.1(C), (D);

                     (b)     Maintain a separate time record for services

       performed by any person not a member of the bar, together with the

       hourly rate at which such person is actually reimbursed, if a claim will

       be made for those fees;

                     (c)     Promptly disclose, on request of any party, the total

       number of hours that have been devoted to the case by the party’s

       attorneys and other timekeepers through the end of the month preceding

       the request; see N.D. Fla. Loc. R. 54.1(D); and

                     (d)     File a motion for an award of attorney’s fees and

       related non-taxable expenses in accordance with Rule 54(d), Federal

       Rules of Civil Procedure, and the bifurcated procedure set forth in Local


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       Rule 54.1.

              (10) Summary Judgment Motions. Any motion for summary

       judgment filed pursuant to Rule 56 or Rule 12(b)(6) (referencing matters

       outside the pleadings), Rule 12(c), or 12(d), Federal Rules of Civil

       Procedure, must be accompanied by a memorandum including a

       statement of facts, and at the same time, the moving party must file any

       supporting evidence not already in the record. An opposing party must

       file a memorandum in opposition to the motion within 21 days,

       identifying a genuine issue to be tried and at the same time filing any

       opposing evidence not already in the record. Any reply memorandum

       must be limited to new matters not addressed in the original supporting

       memorandum and is due within 7 days after the response.

              The parties must comply with the form and word limits set forth

       in the Local Rules.       See N.D. Fla. Loc. R. 56.1.         Also, each

       memorandum must include pinpoint record citations supporting each

       factual assertion with reference to the appropriate deposition, affidavit,

       interrogatory, admission, or other source of the relied-upon material fact,


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       by page, paragraph, number, or other detail sufficient to permit the Court

       to readily locate and check the source. Motions for summary judgment

       may be resolved against a party without a hearing and without further

       notice at any time after the party has had an opportunity to file a

       responsive memorandum and evidence.

       Additionally, to the extent any other provision of the Initial Scheduling

Order is inconsistent with the Court’s Local Rules, the parties are directed to

follow the Local Rules.

       DONE AND ORDERED on this 11th day of December, 2015.



                             s/   M. Casey Rodgers
                             M. CASEY RODGERS
                             CHIEF UNITED STATES DISTRICT JUDGE




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